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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §   NO. 5:10CR13
                                             §   Judge Folsom
MICHAEL ALLEN HAMMONDS                       §

                               NOTICE OF PLEA AGREEMENT

        The United States of America, by its undersigned counsel, would show the Court

that the defendant, Michael Allen Hammonds, and the government have entered into a

written plea agreement in relation to the charges now pending before this Court.

                                                 Respectfully submitted,

                                                 JOHN M. BALES
                                                 UNITED STATES ATTORNEY


                                                 /s/ Gregg A. Marchessault
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                                  CERTIFICATE OF SERVICE

        I certify that this Notice of Plea Agreement has been served on counsel of record

via the Court’s CM/ECF filing system on May 11, 2010.


                                                 /s/ Gregg A. Marchessault
                                                 GREGG A. MARCHESSAULT



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